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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:04CR00291-03 JLH

DONALD LEE BONE                                                                       DEFENDANT


                                              ORDER

       Donald Lee Bone has filed a motion to modify his sentence pursuant to 18 U.S.C.

§ 3582(c)(2), based upon Amendment 706 to the United States Sentencing Guidelines, which

lowered the base offense level for crack cocaine offenses, and Amendment 711, which identified

Amendment 706 as an amendment that may be applied retroactively, effective March 3, 2008.1 For

the reasons explained below, the Court concludes that the defendant’s motion must be denied.

       Bone entered a plea of guilty to one count of conspiracy to distribute more than 5 grams of

cocaine base, a Class B felony, in violation of 21 U.S.C. § 846. It was determined that Bone was a

career offender, so his sentencing guideline range was determined by U.S.S.G. § 4B1.1(b)(B). His

base offense level, as determined by that guideline provision, was 34. His criminal history category

was VI. He received a 3 level reduction for acceptance of responsibility, which resulted in an

offense level of 31. For an offense level of 31 and the criminal history category of VI, the guideline

imprisonment range is 188 to 235 months. Pursuant to a U.S.S.G. § 5K1.1 motion, the Court granted

a 50% downward departure and imposed a sentence of 94 months incarceration in the Bureau of

Prisons.




       1
        See U.S.S.G. App. C, Amend. 706, incorporated in U.S.S.G. § 2D1.1 (supp. May 1,
2008) and App. C, Amend. 711, incorporated in U.S.S.G. § 1D1.10 (supp. May 1, 2008).
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       Amendment 706 reduces the guideline range for crack cocaine offenses by amending

U.S.S.G. § 2D1.1, the drug quantity table used to compute sentences for such offenses. As noted

above, the United States Sentencing Commission has subsequently identified Amendment 706 as

an amendment that will be given retroactive application. See U.S.S.G. § 1B1.10(c). However,

Bone’s sentence was not based upon or effected by the drug quantity table in U.S.S.G. § 2D1.1.

Bone was found to be a career offender, so his guideline sentencing range was based on U.S.S.G.

§ 4B1.1(b). That guideline section has not been amended. Had Amendment 706 been in effect at

the time Bone was sentenced, it would not have changed his original guideline range nor would it

have changed the ultimate sentence imposed after granting a 50% downward departure. Because

Bone’s sentencing guideline range was not determined or effected by the drug quantity table in

U.S.S.G. § 2D1.1, he is not eligible for a sentence reduction based on the retroactive amendments

to the drug quantity table. See United States v. Tingle, 524 F.3d 839 (8th Cir. 2008); United States

v. Thomas, 524 F.3d 889 (8th Cir. 2008); United States v. Rowland, 2008 WL 2662462 (E.D. Ark.,

June 27, 2008). Therefore, the motion for retroactive application of the amended sentencing

guidelines is DENIED. Document #729.

       IT IS SO ORDERED this 25th day of July, 2008.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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